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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

PRISCILLA WATSON,

     Plaintiff,

v.                                                   Case No. 8:19­cv­00099­CEH­AAS

USAA FEDERAL SAVINGS BANK.

       Defendant.

                  JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), the parties to this action hereby stipulate to

dismissal of this action with prejudice and with each party to bear its own fees and costs of court,

thereby concluding this matter in its entirety.

       Respectfully submitted this 3rd day of October, 2019.



s/ Joshua R. Kersey                                s/ David M. Krueger
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